             Case 24-57012-pwb                              Doc 1       Filed 07/05/24 Entered 07/05/24 12:47:11                                  Desc
                                                                       Petition Page 1 of 33
 Fill in this information to identify the case:                                                                          FILED            OFFICE
                                                                                                                         U.S. BANKRLI? CY COURT
                                                                                                                           HORTI:r]•:;TRICT
 United States Bankruptcy Court for the:                                                                                       OF'

  Northern                  Distn-ct of
                                            Georgia
                                          (State)
                                                                                                                    2024 JUL -5 PM 12: 14 1
 Case number (If known):
                                                       zA                                                                                   •   Check if this is an
                                                                                                                                                apended filing


                                                                                                                                U       f
                                                                                                                                                SR!
Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                     06124

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 i. Debtor's name                                   M & T REAL ESTATE GROUP II, INC.



                                                    M& T Real Estate Group
 2. All other names debtor used
                                                    AASAC Transitional Coummunity Housing Homeless program
    in the last 8 years
     Include any assumed names,
     trade names, and doing business
     as names




 3. Debtor's federal Employer                   8           3 _ 4 6         2 2 6 3 4
    Identification Number (EIN)



 4. Debtor's address                                Principal place of business                                   Mailing address, if different from principal place
                                                                                                                  of business

                                                    955 COMMERCIAL ST NE                                          same
                                                    Number         Street                                         Number       Street


                                                                                                                  P.O. Box

                                                    Conyers                           GA        30012
                                                    City                              State     ZIP Code          City                          State       ZIP Code

                                                                                                                  Location of principal assets, if different from
                                                                                                                  principal place of business
                                                     Rockdale
                                                    County
                                                                                                                  Number       Street




                                                                                                                  City                          State       ZIP Code




  5. Debtor's website (URL)                          no longer available- Out of business




Official Form 201                                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 1
             Case 24-57012-pwb             Doc 1            Filed 07/05/24 Entered 07/05/24 12:47:11                                     Desc
                                                           Petition Page 2 of 33
Debtor                                                                                         Case number (tallow))
             Name



 6. Type of debtor
                                      Cd Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                         Partnership (excluding LLP)
                                      U Other. Specify:

                                      A. Check one:
 7. Describe debtor's business
                                      U Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                      12 Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                      U Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                      LI None of the above

                                      B.Check all that apply:

                                         Tax-exempt entity (as described in 26 U.S.C. § 501)
                                      U Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                         § 80a-3)
                                      U Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See

                                           53         1        1

 a. Under which chapter of the        Check one:
     Bankruptcy Code is the
                                         Chapter 7
     debtor filing?
                                         Chapter 9
                                         Chapter 11. Check all that apply.
                                                           •   Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                               insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
                                                               4/01/25 and every 3 years after that).
                                                           U The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                           UThe debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
                                                             chooses to proceed under Subchapter V of Chapter 11.

                                                           •   A plan is being filed with this petition.

                                                           •   Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           •   The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                               for Bankruptcy under Chapter 1/ (Official Form 201A) with this form.

                                                           •   The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                               12b-2.
                                         Chapter 12

  a. Were prior bankruptcy cases      U No
     filed by or against the debtor
     within the last 8 years?            Yes. District Northern District                 when     03/06/2023           Case number 23-52191
                                                                                                 MM! DD /YYYY
     If more than 2 cases, attach a
                                                District                                  When                         Case number
     separate list.
                                                                                                 MM! DD / YYYY


  Official Form 201                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
              Case 24-57012-pwb               Doc 1         Filed 07/05/24 Entered 07/05/24 12:47:11                                          Desc
                                                           Petition Page 3 of 33
Debtor        M & T REAL ESTATE GROUP II, INC.                                               Case number (i1 known)
              Name



 io. Are any bankruptcy cases           U No
     pending or being filed by a
                                        0 Yes. Debtor        Adrian Tisdale                                           Relationship    CEO
     business partner or an
     affiliate of the debtor?                       District Northern District                                        When            05/22/2023
     List all cases. If more than 1,                                                                                                 MM   /   DD    /YYYY
     attach a separate list.                        Case number, if known   23-54795

     Why is the case filed in this      Check all that apply:
     district?
                                        0 Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.

                                        0   A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


 12. Does the debtor own or have        U No
     possession of any real        0 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     property or personal property
     that needs immediate                 Why does the property need immediate attention? (Check all that apply.)
     attention?
                                                   U It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                      Other    Building under eviction notice and need to sell all assets left in building
                                                              desk, chairs, conference tables etc...

                                                   Where is the property? 955 COMMERCIAL ST NE
                                                                              Number         Street



                                                                              Conyers                                                ga        30012
                                                                              City                                                   State ZIP Code


                                                   Is the property insured?

                                                   O No
                                                   U Yes. Insurance agency

                                                           Contact name

                                                           Phone




             Statistical and administrative information


 13.Debtor's estimation of              Check one:
    available funds                     U Funds will be available for distribution to unsecured creditors.
                                        0   After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                        0   1-49                            U 1,000-5,000                                 U 25,001-50,000
 14.Estimated number of                 LI 50-99                            U 5,001-10,000                                U 50,001-100,000
    creditors
                                        U 100-199                           U 10,001-25,000                               0   More than 100,000
                                        U 200-999


 Official Form 201                          Voluntary Petifion for Non-Individuals Filing for Bankruptcy                                           page 3
             Case 24-57012-pwb                 Doc 1         Filed 07/05/24 Entered 07/05/24 12:47:11                                      Desc
                                                            Petition Page 4 of 33
Debtor       M & T REAL ESTATE GROUP II, INC.                                                 Case number (i/x,oivri)



                                             $0-$50,000                      •   $1,000,001-$10 million                   •   $500,000,001-$1 billion
 15.Estimated assets                     •   $50,001-$100,000                •   $10,000,001-$50 million                  •   $1,000,000,001-$10 billion
                                         •   $100,001-$500,000               •   $50,000,001-$100 million                 •   $10,000,000,001-$50 billion
                                         •   $500,001-$1 million             •   $100,000,001-$500 million                CI More than $50 billion

                                         •   $0-$50,000                      t21 $1,000,001-$10 million                   •   $500,000,001-$1 billion
 16.Estimated liabilities                •   $50,001-$100,000                • $10,000,001-$50 million                    •   $1,000,000,001-$10 billion
                                         •   $100,001-$500,000               •   $50,000,001-$100 million                 • $10,000,000,001-$50 billion
                                         •   $500,001-$1 million             •   $100,000,001-$500 million                O More than $50 billion




            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
                $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of
                                             petition.
    debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                             Executed on
                                                            06/26/2024


                                                                                                           Adrian Tisdale
                                             Signature of authorized ree                                   Printed name

                                             Title    CEO/POA


                                                     Attorney on Medical Leave unable to take over case until July 8, 2024
 18.Signature of attorney                                                                                  Date
                                              Signature of attorney for debtor                                          MM     /DD /YYYY



                                              Kent Mitchell, Bankrutpcy Attorney
                                             Printed name
                                              Giddens, Mitchell & Associates P.C. Suite 555
                                             Firm name
                                              3951 Snapfinger Parkway
                                             Number         Street
                                              Decatur                                                           GA              30035
                                             City                                                              State            ZIP Code

                                              Kenneth Mitchell                                                    gmapclaw1@gmail.com
                                             Contact phone                                                     Email address



                                                                                                                GA
                                             Bar number                                                         State




  Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                     page 4
                Case 24-57012-pwb                   Doc 1    Filed 07/05/24 Entered 07/05/24 12:47:11                                Desc
                                                            Petition Page 5 of 33
  Fill in this information to identify the case:


  Debtor name M & T REAL ESTATE GROUP II, INC.

  United States Bankruptcy Court for the. NOTHERN                 District of GA
                                                                              (State)
  Case number (If known):                                                                                                          U Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule NB, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor's name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor's interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:     Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

   U      No. Go to Part 2.
   Li     Yes. Fill in the information below.

       All cash or cash equivalents owned or controlled by the debtor                                                            Current value of debtor's
                                                                                                                                 interest

2. Cash on hand

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

   Name of institution (bank or brokerage firm)                Type of account                 Last 4 digits of account number
   3.1.
   3.2.

4. Other cash equivalents (Identify all)
   4.1.
   4.2.

5. Total of Part 1
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Part 2:     Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

   •      No. Go to Part 3.
   U      Yes. Fill in the information below.
                                                                                                                                 Current value of
                                                                                                                                 debtor's interest
7. Deposits, including security deposits and utility deposits
   Description, including name of holder of deposit
   7.1. RNP- NICHOLAS PASCENTE & RYAN - SECURITY DEPOSIT NEVER RETURNED AFTER RELIFE OF STAY GRANTED                             $ 2,500.00
   7.2.



  Official Form 206A/3                                    Schedule AJB: Assets —Real and Personal Property                                    page 1
               Case 24-57012-pwb                         Doc 1    Filed 07/05/24 Entered 07/05/24 12:47:11                               Desc
                                                                 Petition Page 6 of 33
Debtor         M & T REAL ESTATE GROUP II, INC.                                                     Case number (rtkoom,)
               Nemo




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

   Description, including name of holder of prepayment
   8.1. NONE

   8.2.

9. Total of Part 2.
   Add lines 7 through 8. Copy the total to line 81.



Part 3:    Accounts receivable

10. Does the debtor have any accounts receivable?
    12 No. Go to Part 4.
    CI Yes. Fill in the information below.
                                                                                                                                    Current value of debtor's
                                                                                                                                    Interest
11. Accounts receivable

    11a. 90 days old or less:                                                                                  4
                                   face amount                      doubtful or uncollectible accounts

    l i b. Over 90 days old:                                                                                   4
                                   face amount                      doubtful or uncollectible accounts


12. Total of Part 3
    Current value on lines lla + llb = line 12. Copy the total to line 82.


Part 4:    Investments

13. Does the debtor own any investments?
    CA No. Go to Part 5.
    Li Yes. Fill in the information below.
                                                                                                           Valuation method         Current value of debtor's
                                                                                                           used for current value   interest

14. Mutual funds or publicly traded stocks not included in Part 1
   Name of fund or stock:
   14.1.
   14.2.




15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

   Name of entity:                                                                    % of ownership:

   15.1.
   15.2.


16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    Instruments not included in Part 1
   Describe:

   16.1.
   16.2.




17. Total of Part 4
    Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                         Schedule NB: Assets —Real and Personal Property                                    page 2
                Case 24-57012-pwb                 Doc 1       Filed 07/05/24 Entered 07/05/24 12:47:11                     Desc
Debtor                                                       Petition Page 7 of 33
                                                                                 Case number Of1.0.1
                Name


Part 5:     Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
    LI No. Go to Part 6.
    cd Yes. Fill in the information below.

        General description                         Date of the last     Net book value of   Valuation method used     Current value of
                                                    physical inventory   debtor's interest   for current value         debtor's interest
                                                                         (Where available)
19. Raw materials

                                                    MM / DD/YYYY

20. Work in progress

                                                    MM / DD / YYYY

21. Finished goods, including goods held for resale
    GOOD FOR SALE                              01/01/2024                $ 6,000                                       $ 6,000.00
                                                    MM /DD /YYYY

22. Other inventory or supplies
                                                    01/01/2024
    TABLES, CHAIRS, DESKS, ETC
                                                    MM /DD/YYYY
                                                                         $ 15,000.00                                   $ 15000.00
                                                                                                                           ,

23. Total of Part 5
                                                                                                                       $ 21,000• 00
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
    •      No
    CI Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

    •      No
    LI Yes. Book value                           Valuation method                       Current value
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
    U      No
    LI Yes

Part 6:     Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
    12 No. Go to Part 7.

    LI Yes. Fill in the information below.
        General description                                              Net book value of    Valuation method used    Current value of debtor's
                                                                         debtor's interest    for current value        interest
                                                                         (Where available)
28. Crops—either planted or harvested


29. Farm animals Examples: Livestock, poultry, farm-raised fish


30. Farm machinery and equipment (Other than titled motor vehicles)



31. Farm and fishing supplies, chemicals, and feed



32. Other farming and fishing-related property not already listed in Part 6



Official Form 206A/B                                      Schedule NB: Assets —Real and Personal Property                          page 3
                 Case 24-57012-pwb                   Doc 1      Filed 07/05/24 Entered 07/05/24 12:47:11                             Desc
Debtor
                                                               Petition Page 8 of 33
                                                                                   Case number               (if knovni)
                 Name




33. Total of Part 6.
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

    O No
    CI Yes. Is any of the debtor's property stored at the cooperative?
          LI No
          Cl    Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
    0     No
    CI Yes. Book value $                        Valuation method                      Current value $
36. Is a depreciation schedule available for any of the property listed in Part 6?

    O No
    U Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

    Uf No
    U Yes


Part 7:        Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    O No. Go to Part 8.
    0     Yes. Fill in the information below.


   General description                                                        Net book value of         Valuation method         Current value of debtor's
                                                                              debtor's interest         used for current value   interest
                                                                              (Where available)

39. Office furniture
    Office furnturer                                                           $ 15,000                                          $ 15,000
40. Office fixtures



41. Office equipment, including all computer equipment and
    communication systems equipment and software
    2 computers                                                                $ 1000 00                                         $ 1,000.00
42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles
   42.1 art work hanging on walls                                              $ 500.00                                          $ 500.00
   42.2

   42.3

43. Total of Part 7.
                                                                                                                                 $ 16,500.00
    Add lines 39 through 42. Copy the total to line 86.
44. Is a depreciation schedule available for any of the property listed in Part 7?

          No
    U Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

          No
    U Yes


 Official Form 206A/B                                        Schedule NB: Assets —Real and Personal Property                                  page 4
                 Case 24-57012-pwb                Doc 1      Filed 07/05/24 Entered 07/05/24 12:47:11                     Desc
Debtor
                                                            Petition Page 9 of 33
                                                                                Case number           (if known)
                 Name




Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

    10 No. Go to Part 9.
    U Yes. Fill in the information below.


   General description                                                     Net book value of   Valuation method used   Current value of
                                                                           debtor's interest   for current value       debtor's interest
   Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
   HIN, or N-number)


47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


   47,1

   47.2

   47.3

   47.4


48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

   48.1

   48.2


49. Aircraft and accessories

   49.1

   49.2


50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)




51. Total of Part 8.
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
    •      No
    U      Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
    tj r   No
    U      Yes




 Official Form 206A/B                                     Schedule A/B: Assets— Real and Personal Property                        page 5
                 Case 24-57012-pwb Doc 1 Filed 07/05/24 Entered 07/05/24 12:47:11                                                 Desc
                 M & T REAL ESTATE GROUPPetition
                                         II, INC. Page 10 of 33
Debtor                                                       Case number orknowo
                 Name




Part 9:     Real property

54. Does the debtor own or lease any real property?
    CI No. Gobo Part 10.
    Uf Yes. Fill in the information below.    $500,000 improvement made to property
55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

    Description and location of property                   Nature and extent      Net book value of   Valuation method used    Current value of
    Include street address or other description such as    of debtor's interest   debtor's interest   for current value        debtor's interest
    Assessor Parcel Number (APN), and type of property     In property            (Where available)
    (for example, acreage, factory, warehouse, apartment
    or office building), if available.
    55 1955 COMMERCIAL ST NE                               1 poosmoo                                                           0500,000.00
    55.2

    55.3

    55.4

    55.5

    55.6


56. Total of Part 9.                                                                                                           j500,000.00
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
    •      No
    U      Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
    •      No
    U      Yes

Part 10: Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?
    •     No. Go to Part 11.
    U Yes. Fill in the information below.

        General description                                                       Net book value of   Valuation method         Current value of
                                                                                  debtor's interest   used for current value   debtor's interest
                                                                                  (Where available)
60. Patents, copyrights, trademarks, and trade secrets


61. Internet domain names and websites


62. Licenses, franchises, and royalties


63. Customer lists, mailing lists, or other compilations


64. Other intangibles, or intellectual property

65. Goodwill


66. Total of Part 10.
    Add lines 60 through 65. Copy the total to line 89.




Official Form 206A/B                                          Schedule NB: Assets —Real and Personal Property                             page 6
                  Case 24-57012-pwb                     Doc 1    Filed 07/05/24 Entered 07/05/24 12:47:11                              Desc
                                                                Petition Page 11 of 33
Debtor            M & T REAL ESTATE GROUP II, INC.                                             Case number it known)



67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
    •       No
    U       Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
    14 No
     CI     Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
     •      Nlo
     CI     Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
     Include all interests in executory contracts and unexpired leases not previously reported on this form.
    Ulf No. Go to Part 12.
     U      Yes. Fill in the information below.
                                                                                                                                    Current value of
                                                                                                                                    debtor's interest
71. Notes receivable
    Description (include name of obligor)
                                                                                                                              =4   $
                                                                     Total face amount     doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

                                                                                                          Tax year
                                                                                                          Tax year
                                                                                                          Tax year

73. Interests in insurance policies or annuities



74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
     Lyndon Greene/G-Trans LC pending case Rockdale County superior Court                                  $ 500,000.00
     Nature of claim     Plaintiff claim he had no knowledge of use of his down payment, never showed up for closing and Greene
                                        gave permission to closing attorney to use his funds to purchase 955 Commerical of free will.
     Amount requested                  $ 500.000 counterclaim

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
         Lender Skybeam Capital REIT LLC, did not secure the "Ability to repay" under Federal & State                              $ ,1,300,000.00
     Nature of claim                    Lender did not secure 2nd signature of cosigner Lyndon Greene which cause the default
     Amount requested                  $ 1 300,000• 00

76. Trusts, equitable or future interests in property



77. Other property of any kind not already listed Examples: Season tickets,
    country club membership




78. Total of Part 11.
                                                                                                                                   $ 1,800,000.00
     Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
     U      No
     U      Yes

 Official Form 206A/B                                       Schedule A/B: Assets —Real and Personal Property                                   page 7
              Case 24-57012-pwb                  Doc 1
                                       Filed 07/05/24 Entered 07/05/24 12:47:11                                                       Desc
Debtor         M & T REAL ESTATE GROUP II, INC. Page 12 of 33
                                     Petition
                                                                                            Case number orknovvo
              Narno




Part 12:     Summary



In Part 12 copy all of the totals from the earlier parts of the form.


      Type of property                                                         Current value of                    Current value
                                                                               personal property                   of real property

80.Cash, cash equivalents, and financial assets. Copy line 5, Part 1.
                                                                                $0

                                                                                $0
 81.Deposits and prepayments. Copy line 9, Part 2.


82.Accounts receivable. Copy line 12, Part 3.                                   $0
                                                                                    0
83.Investments. Copy line 17, Part 4.

84.Inventory. Copy line 23, Part 5.                                             $ 21,000• 00
                                                                                    0
85.Farming and fishing-related assets. Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment; and collectibles.
                                                                                $ 16,500• 00
    Copy line 43, Part 7.

87.Machinery, equipment, and vehicles. Copy line 51, Part 8.
                                                                                $0

88.Real property. Copy line 56, Part 9.                                                        4
                                                                                                                $ 0,500,000 I

89.Intangibles and intellectual property. Copy line 66, Part 10.                $o

90.All other assets. Copy line 78, Part 11.                                      $ 1,800,000.00


                                                                                $   1,837,500.00 +                 0
91.Total. Add lines 80 through 90 for each column                       91a.                             91b.


     955 COMMERCIAL ST NE- forclosed by Lender and lost 1,300,000 million in equity

92.Total of all property on Schedule NB. Lines 91a + 91b = 92.                                                                        $ 1,837,500.00




Official Form 206A/B                                     Schedule NB: Assets —Real and Personal Property                                   page 8
                 Case 24-57012-pwb                            Doc 1     Filed 07/05/24 Entered 07/05/24 12:47:11                                        Desc
                                                                       Petition Page 13 of 33
  Fill in this information to identify the case:

  Debtor name
                   M & T REAL ESTATE GROUP II, INC.
  United States Bankruptcy Court for the: Northern                              District of GA
                                                                                           (State)
  Case number (If known).                                                                                                                           1:1 Check if this is an
                                                                                                                                                         amended filing
  Official Form 206D
  Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15

  Be as complete and accurate as possible.


 1. Do any creditors have claims secured by debtor's property?
    U No. Check this box and submit page 1 of this form to the court with debtors other schedules. Debtor has nothing else to report on this form.
    U Yes. Fill in all of the information below.

 Part 1:        List Creditors Who Have Secured Claims
                                                                                                                              Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
                                                                                                                              Amount of claim           Value of collateral
    secured claim, list the creditor separately for each claim.
                                                                                                                              Do not deduct the value   that supports this
                                                                                                                              of collateral.            claim
ga Creditor's name                                             Describe debtor's property that is subject to a lien
      Skybeam Capital REIT LLC,                                                                                               $ 850,000.00              $ 2,000,000.00
                                                                Hard money loan lein for $700,000.00

    Creditor's mailing address                                  Lender fordosed on building via relief of stay prior bankrutpcy case

      3225 Cumberland Blvd Suite 100
      Atlanta LiA 30339
                                                               Describe the lien
                                                                 mortgage tem

    Creditor's email address, if known                          Is the creditor an insider or related party?
                                                                ia No
                                                                U Yes

    Date debt was incurred          June 22, 2022               Is anyone else liable on this claim?
                                                                U No
    Last 4 digits of account
                                                                U Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    number                   --            --
    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.
    U No                                                        LI Contingent
       Yes. Specify each creditor, including this creditor,     •  Unliquidated
            and its relative priority.                          •  Disputed
             Skybeam Capital Partemes LLC
             3225 Cumbeiland Blvd Suite 100 Atlanta GA 30339- Same people own both companies

Es Creditor's name                                             Describe debtor's property that is subject to a lien



     Creditor's mailing address


                                                               Describe the lien

    Creditor's email address, if known                          Is the creditor an insider or related party?
                                                                CI No
                                                                •    Yes

    Date debt was incurred                                      Is anyone else liable on this claim?
                                                                LI No
    Last 4 digits of account
                                                                U Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    number

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    L=I No                                                      U Contingent
        Yes. Have you already specified the relative            • Unliquidated
             priority?                                          U Disputed
        U No. Specify each creditor, including this
                  creditor, and its relative priority.


        U    Yes. The relative priority of creditors is
                 specified on lines

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                               $ 850,000.00
    Page, if any.


    Official Form 206D                             Schedule D: Creditors Who Have Claims Secured by Property                                               page 1 of 2
                  Case 24-57012-pwb                        Doc 1    Filed 07/05/24 Entered 07/05/24 12:47:11                                        Desc
                    M & T REAL ESTATE GROUP II, INC.               Petition Page 14 of 33
 Debtor                                                                                                 Case number (if known)
                  Name




                                                                                                                            Column A                Column B
 Part 1:       Additional Page                                                                                              Amount of claim         Value of collateral
                                                                                                                            Do not deduct the value that supports this
                                                                                                                            of collateral.           claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2._ Creditor's name                                         Describe debtor's property that is subject to a lien




    Creditor's mailing address



                                                            Describe the lien


    Creditor's email address, if known                       Is the creditor an insider or related party?
                                                             U No
                                                             U Yes


    Date debt was incurred                                   Is anyone else liable on this claim?
                                                             LI No
    Last 4 digits of account
                                                             U Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    number

    Do multiple creditors have an interest in the            As of the petition filing date, the claim is:
    same property?                                           Check all that apply.

    U No                                                     U Contingent
                                                             • Unliquidated
    U Yes. Have you already specified the relative
           priority?                                         U Disputed

          U No. Specify each creditor, including this
                creditor, and its relative priority.




          U Yes. The relative priority of creditors is
                specified on lines


2._ Creditor's name                                         Describe debtor's property that is subject to a lien




    Creditor's mailing address




                                                            Describe the lien


    Creditor's email address, if known                       Is the creditor an insider or related party?
                                                             LI No
                                                             U Yes

    Date debt was incurred                                   Is anyone else liable on this claim?
                                                             LI No
    Last 4 digits of account
                                                             LI Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    number


    Do multiple creditors have an interest in the            As of the petition filing date, the claim is:
    same property?                                           Check all that apply.

    U No                                                     U Contingent
                                                             • Unliquidated
    U Yes. Have you already specified the relative
           priority'?                                        U Disputed
      U No. Specify each creditor, including this
                creditor, and its relative priority.




          U   Yes. The relative priority of creditors is
                  specified on lines



  Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page      of
               Case 24-57012-pwb                   Doc 1      Filed 07/05/24 Entered 07/05/24 12:47:11                                    Desc
                                                             Petition Page 15 of 33
Debtor                                                                                          Case number (if know)
               Name



Part 2:      List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.
If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                              On which line in Part 1      Last 4 digits of
         Name and address
                                                                                                              did you enter the            account number
                                                                                                              related creditor?            for this entity
     Skybeam Capital Parternes LLC- 3225 CUMBERLAND Blvd Suite 100 Atlanta GA 30339
                                                                                                              Line 2. 1




                                                                                                              Line 2.




                                                                                                              Line 2.




                                                                                                              Line 2.




                                                                                                              Line 2.




                                                                                                              Line 2.




                                                                                                              Line 2.




                                                                                                              Line 2.




                                                                                                              Line 2.




                                                                                                              Line 2.




                                                                                                              Line 2.




                                                                                                              Line 2.




                                                                                                              Line 2.




                                                                                                              Line 2.



Form 206D                         Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                page 2     of 2
                     Case 24-57012-pwb                   Doc 1    Filed 07/05/24 Entered 07/05/24 12:47:11                                                     Desc
                                                                 Petition Page 16 of 33
  Fill in this information to identify the case:


     Debtor           M & T REAL ESTATE GROUP II, INC.

     United States Bankruptcy Court for the: Northern                   District of ga
                                                                                   (State)
     Case number
     (It known)

                                                                                                                                                           U Check if this is an
                                                                                                                                                             amended filing
 Official Form 206E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                            12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
 unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
 on Schedule A/13: Assets - Real and Personal Property (Official Form 206A1B) and on Schedule G: Executory Contracts and Unexpired Leases
 (Official Form 206G). Number the entries In Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
 the Additional Page of that Part included in this form.

Part 1:            List All Creditors with PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
      CI No. Go to Part 2.
          Yes. Go to line 2.

2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
   3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                      Total claim                          Priority amount

ga   Priority creditor's name and mailing address
      Skybeam Capital REIT LLC,
                                                              As of the petition filing date, the claim is: $ 850,000.00
                                                              Check all that apply.
      3225 Cumberland Blvd Sutie 100                          •  Contingent
              II                                              •  Unliquidated                                Lender already foreclose on property
                                                              O Disputed
     Date or dates debt was incurred                           Basis for the claim:
                                                               purchase money loan mortgage
      June 22, 2022

      Last 4 digits of account                                Is the claim subject to offset?
      number                                                  U No
                                                              iA Yes
      Specify Code subsection of PRIORITY unsecured
      claim: 11 U.S.C. § 507(a) (  )


11    Priority creditor's name and mailing address
      Skvbeam Capital Parternes LLC
                                                              As of the petition filing date, the claim is:
                                                              Check all that apply.
      3225 Cumberland Blvd Suite 100                          LI Contingent
         km aGA 30339                                         O Unliquidated
                                                              O Disputed
      Date or dates debt was incurred                          Basis for the claim:
      no debt incurred at all                                  Froperty transterred to bkybeam Fanners to avoid legal action to evict M & T by same owners at Skybeam Capital REIT LLC
                                                               No debt was ever owed to this Creditor
      Last 4 digits of account                                Is the claim subject to offset?
      number                                                  •    No
                                                              U Yes
      Specify Code subsection of PRIORITY unsecured
      claim: 11 U.S.C. § 507(a) (  )


      Priority creditor's name and mailing address            As of the petition filing date, the claim is: $ 126,900.00                                  $ 126,900.00
       Small BuSiness Adminstration                           Check all that apply.
       233 Peachtree St NE                                    O Contingent
                                                              O Unliquidated
                                                              U Disputed
      Date or dates debt was incurred                          Basis for the claim:
                                                               COVID 19 RELIEF FUNDS
      12/24/2022

      Last 4 digits of account                                Is the claim subject to offset?
      number                                                  10 No
                                                              Li Yes
      Specify Code subsection of PRIORITY unsecured
      claim: 11 U.S.C. § 507(a) (  )




 Official Form 206E/F                                   Schedule OF: Creditors Who Have Unsecured Claims                                                          page 1 of/
                 Case 24-57012-pwb                    Doc 1     Filed 07/05/24 Entered 07/05/24 12:47:11                        Desc
  Debtor         M & T REAL ESTATE GROUP II, INC.              Petition Page 17 of 33
                                                                                   Case number o(know”)
                 Namo



 Part 1.     Additional Page


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
                                                                                                              Total claim   Priority amount
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2._    Priority creditor's name and mailing address                                                          $ 295,000.00
                                                            As of the petition filing date, the claim Is:
                                                            Check all that apply.
        Adrian Tisdale                                      U Contingent
                                                            • Unliquidated
        955 COMMERCIAL ST NE                                U Disputed
        UUNYEKS CiA 3IJU1Z

       Date or dates debt was incurred                       Basis for the claim:
                                                             PAID FUNDS FOR DOWN PAYMENT
        June 22, 2022

       Last 4 digits of account                             Is the claim subject to offset?
       number                                               •    No
                                                            •    Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (  )

                                                                                                                              2000.00
2._    Priority creditor's name and mailing address                                                          $ 2000
                                                            As of the petition filing date, the claim is:
                                                            Check all that apply.
        GEORGIA DEPARTMENT OF REVENUQ Contingent
        1800 CENTURY BLVD NE        U Unliquidated
                                                            U Disputed


       Date or dates debt was Incurred                       Basis for the claim:
                                                             TAXES DUE
        June 22, 2022

       Last 4 digits of account                             Is the claim subject to offset?
       number                                               C2I No
                                                            •    Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (  )

2._    Priority creditor's name and mailing address                                                          $ 65,000.00    $ 65,000.00
                                                            As of the petition filing date, the claim is:
                                                            Check all that apply.
        IRS                                                  •  Contingent
        P. 0. BOX 7346                                       •  Unliquidated
        PHILADELPHOAPA 19101-7346                            ca Disputed


       Date or dates debt was incurred                       Basis for the claim:
                                                             IRS TAXES DUE
        2022
       Last 4 digits of account                             Is the claim subject to offset?
       number                                               Ll No
                                                            ia Yes       FUNDS ARE DUE COMPANY UNDER REIMBURSMENT PROGRAM
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (  )

2._    Priority creditor's name and mailing address                                                          $ 8,000
                                                             As of the petition filing date, the claim is:                  $ 8• 000•00
                                                            Check all that apply.
        sOCIAL SECURITY ADMINSITRATION U Contingent
        6670 MERCHANTS WAY             • Unliquidated
        MORROW GA 30260                • Disputed

       Date or dates debt was incurred                       Basis for the claim:
                                                             TAXES DUE
        2022-2023
       Last 4 digits of account                             Is the claim subject to offset?
       number                                               •    No
                                                            •    Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (  )




      Official Form 206E/F                            Schedule EIF: Creditors Who Have Unsecured Claims                                   page   2 of1
               Case 24-57012-pwb                  Doc 1        Filed 07/05/24 Entered 07/05/24 12:47:11                               Desc
  Debtor
                                              Petition
                M & T REAL ESTATE GROUP II, INC.                       Page 18 of 33
                                                                                  Case number (iii,wi)
               Name


 Part 2:    List All Creditors with NONPRIORITY Unsecured Claims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                         Amount of claim

3.1 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:
     ADT                                                               Check all that apply.                           $ 4, 000• 00
     3190 S VAUGHN WAY                                                 U Contingent
                                                                       •  Unliquidated
     AURORA CO 80014                                                   la Disputed

                                                                       Basis for the claim:      SECURITY SYSTEM NEVER INSTALLED PROPERLY

    Date or dates debt was incurred           2023                     Is the claim subject to offset?
                                                                       O No
    Last 4 digits of account number                                    U Yes

3.2 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:
                                                                       Check all that apply.                           $ 1, 000• 00
     Vivint
                                                                       O Contingent
     62992 Collections Drive                                           • Unliquidated
     Chicago, II 60693-0629                                            O Disputed

                                                                       Basis for the claim:       request removing & relocation and never complete
                                                                                                 job to new location disputed by Adrian Tisdale
    Date or dates debt was incurred           2023                     Is the claim subject to offset?
                                                                       Ul No
    Last 4 digits of account number                                    U Yes

3.3 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:   $ 292.00
     PYRO PROTECTION LLC                                               Check all that apply.

      O BOX 127                                                        U Contingent
                                                                       • Unliquidated
     JACKSON GA 30233                                                  U Disputed

                                                                       Basis for the claim:

    Date or dates debt was incurred           2023                     Is the claim subject to offset?
                                                                       O No
    Last 4 digits of account number                                    LI Yes

    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:
                                                                       Check all that apply.                           $ 2,000• 00
     SPECTRUM FLOORING & DESIGN
     biib DIVIUEND                                                     U Contingent
     DECATUR GA 30035                                                  • Unliquidated
                                                                       U Disputed

                                                                       Basis for the claim: WOOD FLOOR REPAIR- BALANCE DUE

    Date or dates debt was incurred           2023                     Is the claim subject to offset?
                                                                       O No
    Last 4 digits of account number                                    U Yes
3.5 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:    12 324 00
                                                                                                             $ ,     •
     COREY SMITH                                                       Check all that apply.
     ULSWII I I-1 LJEVELOPMEN I                                        •  Contingent        DISPUTED CASE# 21d17675- Landlord refused to
     3130 SCENIC BROOK DR                                                  Unliquidated uo
                                                                                        -.- proper repairs- ceiling cave in on tenants twice due to
     CONYERS GA 30094                                                  LI Disputed             water leak in bathrooms upstairs- damage furniture, stuck
                                                                       Basis for the clairliS with a large water bill that landlord was due to pay.

    Date or dates debt was Incurred           2023                     Is the claim subject to offset?
                                                                       U No
    Last 4 digits of account number            7675                    la Yes

    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:
                                                                                                                $ 5,000.00
     Dekalb County Georgia Water Authority                             Check all that apply
                                                                       U Contingent       Water  bill belong to Landlord Corey Smith
     /(4 Jordan Lane, Suite 200
     Decature GA 30033                                                 •  Unliquidated due to water damage leak from ceiling falling
                                                                       O Disputed         down twice- He worked for Dekalb County and use
                                                                       Basis for the claimhis position with the county and had bill put into
                                                                                          bur name Illegally.
    Date or dates debt was incurred           2023                     Is the claim subject to offset?
                                                                       Gi No
    Last 4 digits of account number                                    U Yes
                                                                                       re: 2380 Rambling Way, decatur Ga                   30058


    Official Form 206E/F                          Schedule OF: Creditors Who Have Unsecured Claims                                                        3
                                                                                                                                                  page 3 of
                  Case 24-57012-pwb                 Doc 1     Filed 07/05/24 Entered 07/05/24 12:47:11                              Desc
     Debtor        M & T REAL ESTATE GROUP II,Petition
                                               INC.                   Page 19 of 33
                                                                                 Case number (rknown)
                  Name



 Part 2:      Additional Page


     Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
     previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.      Nonpriority creditor's name and mailing address               As of the petition filing date, the claim is:
                                                                      Check all that apply.                           $ 6,000.00
         DR VV1LLIAM WOLF                                             Li Contingent
         1253 COMMERICAL ST SW SUITEB                                 LI Unliquidated
         CONYERS GA 30094                                             (3 Disputed
                                                                      Li Liquidated and neither contingent nor
                                                                         disputed

                                                                      Basis for the claim: CONTRACT- RENT DURNING COVID 19
                                                                                              -sHurDOWNI-BY-GEORGIA GOVERNOR
        Date or dates debt was incurred          12/24/2022           Is the claim subject to offset?
                                                                      0 No
        Last 4 digits of account number                               Li Yes


3.      Nonpriority creditor's name and mailing address
                                                                                                                      $ 500•00
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
         WALTON GAS
                                                                      U Contingent
                                                                      LI Unliquidated
         PO BOX 1347                                                  LI Disputed
         MONROE GA 30ti5b
                                                                      Basis for the claim: GAS BILL- 955 COMMERICAL ST NE 30012

         Date or dates debt was incurred         2023-2024            Is the claim subject to offset?
                                                                      O No
         Last 4 digits of account number                              LI Yes

3.      Nonpriority creditor's name and mailing address
                                                                                                                      $ 600• 00
                                                                      As of the petition filing date, the claim is:
         GOTO COMMUNICATIONS                                          Check all that apply.

         PO BOX 4 Iz252                                               CI Contingent
                                                                      LI Unliquidated
         BOSTON MA 02241-2252                                         Li Disputed

                                                                      Basis for the claim: JIVE PHONE SERVICE

         Date or dates debt was incurred         2023-2024            Is the claim subject to offset?
                                                                      ca No
         Last 4 digits of account number                              U Yes

3.     I Nonpriority creditor's name and mailing address

         INFINITY COMCAST
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.                           $ 800• 00
                                                                      U Contingent
         ONE COMAS I CEN I EK                                         •  Unliquidated
         1701 JFK BLVD                                                LI Disputed
         PHILADELPHIA PA 19103-2838
                                                                      Basis for the claim: INTERNET SERVICE

         Date or dates debt was incurred         2023                 Is the claim subject to offset?
                                                                      O No
         Last 4 digits of account number                              LI Yes


3.       Nonpriority creditor's name and mailing address
                                                                      As of the petition filing date, the claim is:   $ UNKNOWN
         GEORGIA POWER                                                Check all that apply.

         241 RALPH MCGILL BLVD                                        CI Contingent
                                                                      LI Unliquidated
         ATLANTA GA 30308                                             Li Disputed

                                                                      Basis for the claim:     ELECTRIC BILL
         Date or dates debt was incurred         2022-2023            Is the claim subject to offset?
                                                                      O No
         Last 4 digits of account number                              Li Yes




       Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                       page 4 of7
               Case 24-57012-pwb                  Doc 1      Filed 07/05/24 Entered 07/05/24 12:47:11                                        Desc
  Debtor        M & T REAL ESTATE GROUP II, INC.            Petition Page 20 of 33
                                                                                Case number (irknoven)
               Name

 Part 2:    List All Creditors with NONPRIORITY Unsecured Claims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                               Amount of claim

3.1 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:
                                                                                                                      $
                                                                                                                        180,000.00
                                                                       Check all that apply.
     Lyndon Greene/G-Trans LC                                                             DISPUTED CASE- Rockdale County Superior Court
     147 Lawshe Street                                                 U    Contingent
                                                                                          claimed he did not agree to purchase, when he gave the
                                                                            Unliquidated
     Atlanta GA 30314                                                                     closing attorney Matt Durell permission to use his funds for down
                                                                       0    Disputed      payment, via email and verbal, text messages to prove
                                                                                          case against Lyndon Greene. He was 2nd cosigner on debt
                                                                       Basis for the daimon 955 commerical st purchase and caused default by not signing
                                                                                          note to repay debt. Lender negleted to secure his signature.
    Date or dates debt was incurred           06/22/2022               Is the claim subject to offset?
                                                                       •    No
    Last 4 digits of account number                                    LI Yes         CASE #2023-CV-2472

3.2 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:
                                                                                                                           $ -2500• 00 due to M
                                                                                                                                                        &T
                                                                       Check all that apply.
     RNP- NICHOLAS PASCENTE & RYAN                                     U Contingent
     2312 ARCHWOOD LN UNIT #83                                         •  Unliquidated
     SIMI VALLEY CA 93063                                              O Disputed       SECURITY DEPOSIT NEVER RETURNED AFTER RELIFE OF STAY GRANTED
                                                                                        never received any notice of any damages to justify keeping secuirty deposit
                                                                                        due refund security deposit
                                                                       Basis for the claim:

    Date or dates debt was incurred           2023                     Is the claim subject to offset?
                                                                       O No
    Last 4 digits of account number                                    U Yes

3.3 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:
                                                                       Check all that apply.                               $ 8,000• 00
     JPM INVESTMENT GROUP LLC
     ERIC T JOHNSON, ATTORNEY                                          U Contingent
                                                                       • Unliquidated
     4390 EARNEY RD SUITE 230
                                                                       O Disputed
     VVOODSTOCK GA 30188
                                                                       Basis for the claim: RENT CLAIM DUE- DO NOT OWE

    Date or dates debt was incurred           2022                     Is the claim subject to offset?
                                                                       O No
    Last 4 digits of account number                                    U Yes

3.4 Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:      $ 180,000 duplicate
     ALDERMAN & HUTCHERSON LLC                                         Check all that apply.
         LYNUUN CiKEENE/C3- I RANS LC;                                  0 Contingent
                                                                        • Unliquidated           Represent, Lyndon Greene/G-Trans LC pending case Rockdale
     487 Cherry Street, Suite 250                                                                 County superior Court- disputed- Lawfirm filed a case against
                                                                        O Disputed               Debtor and Adrian Tisdale while both was in an active bankruptcy
     Macon GA 31z01
                                                                                                 in violation of bankrutpy laws. case #2023-CV-2472
                                                                       Basis for the claim:

    Date or dates debt was incurred           2023                     Is the claim subject to offset?
                                                                       CI No              Counter claim filed against Lyndon Greene/G TransLC $500,000
    Last 4 digits of account number                                    O Yes
3.5 Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:      $   1 100 00
                                                                       Check all that apply.
     RISING PEAK LLC                                                    •   Contingent
     1775 Parker Road Bldg C                                            LI Unliquidated
     Suite 210                                                          O Disputed
     Conyers GA 30094
                                                                        Basis for the claim: rental deposit

    Date or dates debt was incurred           June 2022                Is the claim subject to offset?
                                                                       LI No
    Last 4 digits of account number                                    O Yes

3.6 Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:
                                                                        Check all that apply.                              $ 20 000.00
     BEAR GROUP LLC
     1924 30TH AVENUE
                                                                       D Contingent
                                                                        • Unliquidated
     GULFPORT, MS 39501
                                                                        O Disputed

                                                                        Basis for the claim:
                                               2023-2024               Is the claim subject to offset?
    Date or dates debt was incurred
                                                                       O No
    Last 4 digits of account number                                    U Yes



    Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                                    pagiff7
                   Case 24-57012-pwb                   Doc 1      Filed 07/05/24 Entered 07/05/24 12:47:11                                     Desc
  Debtor           M & T REAL ESTATE GROUP II, INC.              Petition Page 21 of 33
                                                                                     Case number (,rk.,..”)
                   Name



Part 3:           List Others to Be Notified About Unsecured Claims


4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.
      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



           Name and mailing address                                                           On which line in Part 1 or Part 2 is the        Last 4 digits of
                                                                                              related creditor (if any) listed?               account number, if
                                                                                                                                              any

4.1.                                                                                         Line
                                                                                             LI      Not listed. Explain


4.2.                                                                                         Line

                                                                                             U       Not listed. Explain


4.3.                                                                                         Line

                                                                                             U       Not listed. Explain


4.4.                                                                                         Line

                                                                                              U      Not listed. Explain



41.                                                                                          Line
                                                                                              U      Not listed. Explain



4.5.                                                                                          Line

                                                                                              LI     Not listed. Explain


4.6.                                                                                          Line

                                                                                              U      Not listed. Explain


4.7.                                                                                          Line

                                                                                              U      Not listed. Explain



4.8.                                                                                          Line

                                                                                              LI     Not listed. Explain



4.9.                                                                                          Line

                                                                                              U      Not listed. Explain


4.10.                                                                                         Line
                                                                                              Li     Not listed. Explain



4.11.
                                                                                              Line

                                                                                              U      Not listed. Explain




       Official Form 206E1F                            Schedule EJF: Creditors Who Have Unsecured Claims                                                 page 4 1/)f 17
              Case 24-57012-pwb             Doc 1     Filed 07/05/24 Entered 07/05/24 12:47:11                Desc
 Debtor                                              Petition Page 22 of 33
                                                                         Case number (ir known)
               Name



Part 4:      Total Amounts of the Priority and Nonprlority Unsecured Claims


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                Total of claim amounts


                                                                                                $    1,350,900.00
5a. Total claims from Part 1                                                              5a.




5b. Total claims from Part 2                                                              5b.
                                                                                                $   32,516.00 $220,516.00



5c. Total of Parts 1 and 2                                                                      $ 1,383,416
                                                                                          5c.
   Lines 5a + 5b = 5c.
                                                                                                    $1, 571,416.00




   Official Form 206E/F                     Schedule EF: Creditors Who Have Unsecured Claims                             pagelit   of 1
               Case 24-57012-pwb                   Doc 1      Filed 07/05/24 Entered 07/05/24 12:47:11                                     Desc
                                                             Petition Page 23 of 33
 Fill in this information to identify the case:


 Debtor name     M & T REAL ESTATE GROUP II, INC.

 United States Bankruptcy Court for the: NO                        District of    GA
                                                                                 (State)
 Case number (If known):                                            Chapter



                                                                                                                                      lj   Check if this is an
                                                                                                                                           amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
       0 No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule AB: Assets - Real and Personal Property (Official
    Form 206A/B).
 2. List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                          DEBTOR PURCHASED BUILDING AND PUT DOWN $347,000
         State what the contract or       DOWN PAYMFNT AND no IMPROVEMENTS OF 5500,000 TO            Skybeam Capital Parternes LLC &
 2.1     lease is for and the nature      BUILDING- LENDER FORECLOSE - DEBTOR STILL LOCATED          Skybeam Capital REIT LLC
                                          IN THE BUILDING PENDING EVICTON
         of the debtor's interest                                                                    SAME OWNERS
                                                                                                     3225 Cumberland Blvd, Suite 100
         State the term remaining         n/a                                                        Atlanta Ga 30339
         List the contract number of
         any government contract


         State what the contract or
 2.2     lease is for and the nature
         of the debtor's interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.3     lease is for and the nature
         of the debtor's interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2A
         lease is for and the nature
         of the debtor's interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.5     lease is for and the nature
         of the debtor's interest

         State the term remaining
         List the contract number of
         any government contract




Official Form 2060                            Schedule G: Executory Contracts and Unexpired Leases                                           page 1 of
               Case 24-57012-pwb                 Doc 1    Filed 07/05/24 Entered 07/05/24 12:47:11                        Desc
                                                         Petition Page 24 of 33
Debtor                                                                                Case number orkoova,)
               Name




          Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

       List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired lease



         State what the contract or
 2._     lease is for and the nature
         of the debtor's interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2._     lease is for and the nature
         of the debtor's interest

         State the term remaining
         List the contract number of
         any government contract



         State what the contract or
 2._     lease is for and the nature
         of the debtor's interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2._     lease is for and the nature
         of the debtor's interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2._     lease is for and the nature
         of the debtor's interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2._     lease is for and the nature
         of the debtor's interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2._     lease is for and the nature
         of the debtor's interest

         State the term remaining
         List the contract number of
         any government contract



  Official Form 206G                     Schedule G: Executory Contracts and Unexpired Leases                               page     of
                 Case 24-57012-pwb                    Doc 1    Filed 07/05/24 Entered 07/05/24 12:47:11                                   Desc
                                                              Petition Page 25 of 33
 Fill in this information to identify the case:


 Debtor name
                    M & T REAL ESTATE GROUP II, INC.

 United States Bankruptcy Court for the:   Northern                District of GA
                                                                               (State)
 Case number (If known):




                                                                                                                                           Check if this is an
                                                                                                                                           amended filing
Official Form 206H
Schedule H: Codebtors                                                                                                                                  12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
       CI No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       0   Yes

 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
     schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                              Column 2: Creditor

                                                                                                                                           Check all schedules
             Name                      Mailing address                                                  Name                               that apply:


 2.1       Adrian Tisdale                  955 COMMERCIAL ST NE
           signature Guarantor of debtstreet

                                           Conyers               ga                      30012
                                       City                     State                ZIP Code


 2.2
                                                                                                                                           • D
                                       Street                                                                                              LI E/F
                                                                                                                                           • G


                                       City                     State                ZIP Code


 2.3
                                                                                                                                           LID
                                       Street                                                                                              • E/F
                                                                                                                                           • G


                                       City                     State                ZIP Code

 2.4
                                                                                                                                           • D
                                       Street                                                                                              LI E/F
                                                                                                                                           • G


                                       City                     State                ZIP Code

 2.5
                                                                                                                                           • D
                                       Street                                                                                              LI E/F
                                                                                                                                           • G


                                       City                     State                ZIP Code

 2.6

                                       Street




                                       City                     State                ZIP Code




Official Form 206H                                             Schedule H: Codebtors                                                          page 1 of 1
               Case 24-57012-pwb               Doc 1     Filed 07/05/24 Entered 07/05/24 12:47:11                               Desc
                                                        Petition Page 26 of 33
Debtor                                                                                Case number (if known)
               Name



            Additional Page if Debtor Has More Codebtors


           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                    Column 2: Creditor

                                                                                                                            Check all schedules
            Name                  Mailing address                                             Name                          that apply:

 2.
                                                                                                                            •       D
                                   Street                                                                                   •       E/F
                                                                                                                            •       G


                                   City                    State           ZIP Code


 2.
                                                                                                                            •       D
                                   Street                                                                                   •       E/F
                                                                                                                            •       G


                                   City                    State           ZIP Code

 2.
                                                                                                                            •       D
                                   Street                                                                                   •       E/F
                                                                                                                            •       G


                                   City                    State           ZIP Code


 2.
                                                                                                                            •       D
                                   Street                                                                                   •       E/F
                                                                                                                            •       G


                                   City                    State           ZIP Code

 2.
                                                                                                                            •       D
                                   Street                                                                                   •       E/F
                                                                                                                            •       G


                                   City                    State           ZIP Code


 2.
                                                                                                                                •   D
                                   Street                                                                                       •   E/F
                                                                                                                                •   G


                                   City                    State           ZIP Code


 2.
                                                                                                                                •   D
                                   Street                                                                                       •   E/F
                                                                                                                                •   G


                                   City                    State           ZIP Code


 2.
                                                                                                                                •   D
                                   Street                                                                                       •   E/F
                                                                                                                                •   G


                                   City                    State           ZIP Code




  Official Form 206H                                    Schedule H: Codebtors                                                       page   of
               Case 24-57012-pwb                   Doc 1     Filed 07/05/24 Entered 07/05/24 12:47:11                    Desc
                                                            Petition Page 27 of 33

Fill in this information to identify the case:

 Debtor name     M & T REAL ESTATE GROUP II, INC.

 United States Bankruptcy Court for the:   Northern               District of   GA
                                                                                (State)
 Case number (If known):


                                                                                                                     0   Check if this is an
                                                                                                                         amended filing




Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                               12115




Part 1:      Summary of Assets


1. Schedule A/B: Assets-Real and Personal Property(Official Form 206A/B)

     la. Real property:
         Copy line 88 from Schedule NB
                                                                                                                     $ 1,500.000

     lb. Total personal property:
                                                                                                                     $ 37,500• 00
         Copy line 91A from Schedule A/B

     lc. Total of all property:                                                                                      $ 1,537,500
         Copy line 92 from Schedule A/B




Part 2:      Summary of Liabilities




2    Schedule D: CreditorsWho Have ClaimsSecured by Property (Official Form 206D)
                                                                                                                     $ 850,000.00-
     Copy the total dollar amount listed in Colurm A, Amount of claim, from line 3 of Schedule D                       Forclosed 1/2024
3    Schedule E/F: CreditorsWho Have Unsecured Claims (Official Form 206E/F)

     3a.Total claim amounts of priority unsecured claims:
        Copy the total claims fromPart 1 fromline 5a of Schedule E/F                                                 $ 496 900 00

     3b.Total amount of claims of nonpriority amount of unsecured claims:
                                                                                                                     $ 241,616.00
        Copy the total of the amount of claims fromPart 2 from line 5b of Schedule E/F




                                                                                                                     $ 738, 516• 00
4.   Total liabilities
     Lines 2 + 3a+ 3b



                                                                                          Forclosure date
                                                                                          955 Commercial - INCLUDED $1,588,516.00




    Official Form 206Sum                    Summary of Assets and Liabilities for Non-Individuals                          page 1
               Case 24-57012-pwb                  Doc 1       Filed 07/05/24 Entered 07/05/24 12:47:11                                Desc
                                                             Petition Page 28 of 33
 Fill in this information to identify the case and this filing:



 Debtor Name _INULLREALESTATE_GROILEIUNC-
 United States Bankruptcy Court for the:    NORTHERN                 District of     GA
                                                                                   (State)
 Case number (If known):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



              Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         O     Schedule A/B: Assets—Real and Personal Property (Official Form 206A/B)

         O     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         i211 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
         O     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         O     Schedule H: Codebtors (Official Form 206H)

         O     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

         Li Amended Schedule

         CI Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         lj    Other document that requires a declaration




         I declare under penalty of perjury that the foregoing is true and correct.


         Executed on       06/26/2024
                           MM / DD / YYYY                         Signature of individual signing o      or


                                                                  ADRIAN TISDALE
                                                                  Printed name

                                                                  CEO/POA
                                                                  Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
  Case 24-57012-pwb   Doc 1    Filed 07/05/24 Entered 07/05/24 12:47:11   Desc
                              Petition Page 29 of 33


                      List of Creditors
Skybeam Capital REIT LLC
3225 Cumberland Blvd Suite 100
Atlanta, GA 30339

Skybeam Capital Partners LLC
3225 Cumberland Blvd Suite 100
Atlanta, GA 30339

Magistrate Court of Rockdale County
PO Box 289
874 North Main Street NW
Conyers GA 30012

Rockdale Court of Superior Court & State Court
922 Court ST NE
Conyers GA 30012

Small Business Administration
Loan #XXXXXXXX8007
233 Peachtree St NE
Atlanta, GA 30303

Adrian Tisdale
955 Commercial Street NE
Conyers GA 30012

Lyndon Greene
G-Trans, LC
147 Lawshe Street
Atlanta, GA 30314

Rockdale Water Resources
P.O. Box 1378
Conyers GA 30012

GAS SOUTH
P.O. BOX 530552
Atlanta, GA 30353

Atlanta GA LIGHT
P.O. BOX 4569
Atlanta, GA 30302




              1of4 I Page-    List   of   Creditors-   Case#24-
  Case 24-57012-pwb   Doc 1    Filed 07/05/24 Entered 07/05/24 12:47:11   Desc
                              Petition Page 30 of 33


Clayton County Water
1600 Battle Creek Road
Morrow GA 30262

Cycle Works Sanitation
P 0 Box 689
Ball Ground, GA 30107

Colonial Heating & Air
P.O. Box 80443
Conyers GA 30013

The Home Depot
Dept 32-2201496209
PO Box 70614
Philadelphia PA 19176-0614

The Perfect Answer
PO Box 2027
Woodstock, GA 30188

KABBAGE (American Express)
PO Box 650448
Dallas, TX 75265-0448

ADT
3190 S Vaughn Way
Aurora, CO 80014

Pyro Protection LLC
PO BOX 1279
Jackson, GA 30233

Spectrum Flooring & Design
5335 Dividend Dr
Decatur GA 30035

Corey Smith
CLSmith Development
3130 Scenic Brook Dr
Conyers GA 30094

Dekalb County Georgia Water Authority
774 Jordan Lane
Suite 200
Decatur, GA 30033


              2of4 1 Page-    List   of   Creditors-   Case#24-
  Case 24-57012-pwb   Doc 1    Filed 07/05/24 Entered 07/05/24 12:47:11   Desc
                              Petition Page 31 of 33


Dr William Wolf
1253 Commercial St SW
Suite B
Conyers, Ga 30094

GOTO Communications
P.O. BOXZ 412252
Boston, MA 02241-2252

Infinity Comcast
One Comcast Center
1701 JFK Blvd
Philadelphia PA 19103-2838

Georgia Power
241 Ralph McGill Blvd
Atlanta, GA 30308

RNP-Nicholas Pascente & Ryan
2312 Archwood Ln Unit#83
Simi Valley, CA 93063

Atlanta Georgia IRS Office
1899 Powers Ferry Road Southeast
Atlanta, GA 30339

Georgia Department of Revenue
1800 Century Blvd NE
Atlanta, GA 30345

Social Security Administration
6670 Merchants Way
Morrow, GA 30260

JPM Investment Group LLC
Eric T Johnson, Attorney
4390 Earney Road Suite 230
Woodstock, GA 30188

Internal Revenue Service
P.O. Box 7346
Philadelphia, PA 19101-7346

U.S. Securities and Exchange Commission
Office of Reorganization Sute 900
East Paces Ferry Road NE
Atlanta, GA 30326-1382

              3of4 ( Page-    List   of   Creditors-   Case#24-
  Case 24-57012-pwb   Doc 1    Filed 07/05/24 Entered 07/05/24 12:47:11   Desc
                              Petition Page 32 of 33



Secretary of the Treasury
15th & Pennsylvania Ave NW
Washington DC 20200

Vivint: Billing
62992 Collections Drive
Chicago, IL 60693-0629

Vivint corporate Office
4931 North 300 West
Provo, UT 84604

Walton Gas
P.O. Box 1347
Monroe, GA 30655

City of Conyers
Sanitation Department
P.O. Drawer 1259
Conyers GA 30012

City of Conyers
901 O'Kelly Street
Conyers GA 30012

Rising Peak LLC
1775 Parker Road Bldg C
Suite 110
Conyers GA 30094

Bear Group LLC
1924 30th Avenue
Gulfport, MS 39501




             40f41Page- List of Creditors- Case#24-
                Case 24-57012-pwb                Doc 1      Filed 07/05/24 Entered 07/05/24 12:47:11                                Desc
                                                           Petition Page 33 of 33
Case Number: 24-57012                           Name:            M&T                      Chapter: 7 Division: Atlanta

Please submit the following original documents to the Court for filing so that the case will proceed timely. Failure to comply may
result in the dismissal of your case.

If filing bankruptcy without an attorney, please read the information regarding Filing Bankruptcy without an Attorney at:
www.uscourts. ov/services-forms/bankru tc /filin -without-attorne

D Individual - Series 100 Forms                                                          El Non-Individual - Series 200 Forms
Official and Local Bankruptcy Forms are available on the Court's website at: www.ganb.uscourts.gov.

 MISSING DOCUMENTS DUE WITHIN 7 DAYS                                                     Petition Deficiencies:
 El Complete List of Creditors (names and addresses of all creditors)                    O Last 4 digits of SSN
 LI Pro Se Affidavit (signature must be notarized,                                       O Address
 or witnessed by a Court Intake Clerk, accompanied by a picture ID.)                     O Statistical Estimates
 LI Signed Statement of SSN                                                              O Other:

MISSING DOCUMENTS DUE WITHIN 14 DAYS
O Statement of Financial Affairs                                                                        Case tiled via:
LI Schedules: A/B D E/ F G H                                                       El Intake Counter by:
O Summary of Assets and Liabilities                                                    0 Attorney
O Declaration About Debtor(s) Schedules                                                 D Debtor
LI Attorney Disclosure of Compensation                                                  El Other: Adrian Tisdale 678-206-3415
O Petition Preparer's Notice, Declaration and Signature (Form 119)                 0 Mailed by:
O Disclosure of Compensation of Petition Preparer (Form 2800)                         O Attorney
O Chapter 13 Current Monthly Income                                                   O Debtor
O Chapter 7 Current Monthly Income                                                    O Other:
O Chapter 11 Current Monthly Income
LI Certificate of Credit Counseling (Individuals only)                             0 Email [Pursuant to Amended and Restated General
O Pay Advices (Individuals only) (2 Months)                                        Order 45-2021, this petition was received for filing via
O Chapter 13 Plan, complete with signatures (local form)                           email]
El Corporate Resolution (Non-Individual Ch. 7 & 11)                                              History of Case Association
                                                                                   Prior cases within 3 years:
MISSING DOCUMENTS DUE WITHIN 30 DAYS
O Statement of Intent — Ch.7 (Individuals only)
                                                                                   Signature:
Chapter 11                                                                         Acknowledgm          of receipt of Deficiency Notice
O 20 Largest Unsecured Creditors
El List of Equity Security Holders
LI Small Business - Balance Sheet                                                   Intake Clerk:      rsmith         ID Verified El Date:7/5/24
O Small Business - Statement of Operations
O Small Business - Cash Flow Statement
O Small Business - Federal Tax Returns

FILING FEE INFORMATION
Online Payment for Filing Fee https://www.ganb.uscourts.gov/online-payments (not for chapter 13 plan payments)
      E Paid $
      0 Pending Pay.Gov, Paid $
       LI IFP filed (Ch.7 Individuals Only)
       LI 2g-Order Granting 0 3g-Order Granting 10-day (initial payment of $_____ due within 10 days)
       LI 2d-Order Denying with filing fee of $           due within 10 days
       El No Application to Pay in Installments, Order Regarding Unpaid Case Filing Fee.
                               You may mail documents and filing fee payments (no personal checks or cash accepted) to the address below.
                          All fee payments and documents filed with the Court must show the debtor's name and bankruptcy case number.
                                                    UNITED STATES BANKRUPTCY COURT
                                                      75 Ted Turner Drive, SW, Room 1340
                                                             Atlanta, Georgia 30303
                                                                 404-215-1000
